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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR07-343-JLR

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   MIGUEL ANGEL JIMENEZ
13
                                   Defendant.
14

15   Offenses charged:
16          Count 1:        Conspiracy to Distribute Cocaine, in violation of 21 U.S.C. §§
17                          841(a)(1), 841(b)(1)(A), and 846.

18          Count 2:        Conspiracy to Import Cocaine, in violation of 21 U.S.C. §§ 952(a),
                            960(b)(1)(B)(i) and 963
19
            Count 3:        Conspiracy to Engage in Money Laundering, in violation of 18 U.S.C.
20                          §§ 1956(a)(2)(A) and 1956(h)
21          Counts 4-19: Money Laundering, in violation of 18 U.S.C. §§ 1956(a)(2)(A) and 18
                         U.S.C. § 2.
22

23   Date of Detention Hearing: March 26, 2010
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
24
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
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     DETENTION ORDER
     18 U.S.C. § 3142(i)Error! Reference source
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 1          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

 3                defendant is a flight risk and a danger to the community based on the nature of

 4                the pending charges. Application of the presumption is appropriate in this case.

 5         (2)    An immigration detainer has been placed on defendant by the United States

 6                Immigration and Customs Enforcement.

 7         (3)    Defendant has stipulated to detention, but reserves the right to contest his

 8                continued detention if there is a change in circumstances.

 9         (4)    There are no conditions or combination of conditions other than detention that

10                will reasonably assure the appearance of defendant as required or ensure the

11                safety of the community.

12         IT IS THEREFORE ORDERED:

13         (1)    Defendant shall be detained and shall be committed to the custody of the

14                Attorney General for confinement in a correction facility separate, to the extent

15                practicable, from persons awaiting or serving sentences or being held in custody

16                pending appeal;

17         (2)    Defendant shall be afforded reasonable opportunity for private consultation with

18                counsel;

19         (3)    On order of a court of the United States or on request of an attorney for the

20                government, the person in charge of the corrections facility in which defendant

21                is confined shall deliver the defendant to a United States Marshal for the

22                purpose of an appearance in connection with a court proceeding; and

23   //

24   //

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     DETENTION ORDER
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           (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
 2
                  counsel for the defendant, to the United States Marshal, and to the United States
 3
                  Pretrial Services Officer.
 4
           DATED this 26th day of March, 2010.
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 6                                              AJAMES P. DONOHUE
 7                                               United States Magistrate Judge
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     DETENTION ORDER
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